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                                         10   Attorneys for Amicus Curiae
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                                         11
                                                                       UNITED STATES DISTRICT COURT
         1900 K STREET, NW,
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                         13                                 OAKLAND DIVISION

                                         14
                                              SIERRA CLUB and SOUTHERN BORDER              Case No. 4:19-cv-00892-HSG
                                         15   COMMUNITIES COALITION,
                                                                                           ORDER GRANTING CONSENT
                                         16                    Plaintiffs,                 MOTION OF TOHONO O’ODHAM
                                                                                           NATION FOR LEAVE TO FILE
                                         17          v.                                    BRIEF AS AMICUS CURIAE IN
                                                                                           SUPPORT OF PLAINTIFFS’ MOTION
                                         18   DONALD J. TRUMP, et al.,                     FOR PARTIAL SUMMARY
                                                                                           JUDGMENT
                                         19                    Defendants.
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                                         28                                                            ORDER GRANTING MOTION OF
                                                                                                      TOHONO O’ODHAM NATION FOR
                                                                                                     LEAVE TO FILE BRIEF AS AMICUS
                                                                                                                            CURIAE
                                                Case 4:19-cv-00892-HSG Document 223 Filed 10/21/19 Page 2 of 2



                                          1
                                                                                          ORDER
                                          2

                                          3          Upon consideration of the motion of the Tohono O’odham Nation (“Nation”) for leave to

                                          4   file a brief as amicus curiae in support of the Motion of Plaintiffs Sierra Club and Southern

                                          5   Border Communities Coalition for Partial Summary Judgment, it is hereby ORDERED that the
                                          6
                                              motion is GRANTED. Counsel is directed to file the Nation’s amicus curiae brief on the
                                          7
                                              docket in these matters.
                                          8

                                          9
                                              Dated: 10/21/2019
WASHINGTON, DISTRICT OF COLUMBIA 20006




                                         10
                                                                                           By: _______________________________________
                                         11                                                Judge Haywood S. Gilliam, Jr.
                                                                                           UNITED STATES DISTRICT COURT JUDGE
         1900 K STREET, NW,
         DENTONS US LLP




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                                                                                                                 ORDER GRANTING MOTION OF
                                         28                                                                     TOHONO O’ODHAM NATION FOR
                                                                                             -2-               LEAVE TO FILE BRIEF AS AMICUS
                                                                                                                                      CURIAE
